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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        Case No. 1:19-cv-23100-GAYLES/OTAZO-REYES


 COÖPERATIEVE RABOBANK U.A., New York
 Branch; BROWN BROTHERS HARRIMAN & CO.;
 BANK HAPOALIM B.M.; MITSUBISHI
 INTERNATIONAL CORPORATION; ICBC
 STANDARD BANK PLC; TECHEMET METAL
 TRADING, LLC; WOODFOREST NATIONAL
 BANK and HAIN CAPITAL INVESTORS
 MASTER FUND, LTD.,

                 Plaintiffs,

 vs.

 CROWE LLP,

                 Defendant.


                  JOINT MOTION TO ESTABLISH BRIEFING SCHEDULE

          Counsel for all parties have conferred regarding initial motion practice in this matter.

 Defendant has advised Plaintiffs that Defendant intends to file a motion to transfer this action to

 the Southern District of New York pursuant to 28 USC §§ 1404(a) and 1412. Plaintiffs have

 advised that they intend to file a motion to abstain pursuant to 28 USC § 1334.

          In order to facilitate a coordinated and expeditious briefing schedule in connection with

 these anticipated motions, the parties request that the court enter the following agreed scheduling

 order:

 No later than Plaintiffs to file their motion for abstention and Defendant to file its transfer
 Wednesday,      motion.
 August 7, 2019:

 Wednesday,            The parties to file their respective responses.
 August 21, 2019:
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 Wednesday,           The parties to file their respective replies.
 August 28, 2019:

          WHEREFORE, the Parties jointly request entry of an order setting a briefing schedule as

 set forth above.

 Dated: August 6, 2019

 Respectfully submitted,

 COFFEY BURLINGTON, P.L.                               SCOTT JAY FEDER, P.A.


 By:         s/ Paul J. Schwiep                        By:         s/ Scott Jay Feder
       Paul J. Schwiep, FBN 823244                           Scott Jay Feder, FBN 0359300

 Counsel for Defendant                                 Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 6, 2019, I electronically filed the foregoing with

 the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

 this day on all counsel of record on the Service List below via transmission of Notice of

 Electronic Filing generated by CM/ECF.


                                                          s/ Paul J. Schwiep


                                         Service List
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